              Case 2:11-cr-00296-JAM Document 773 Filed 08/10/18 Page 1 of 2

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-296 JAM
11
                                  Plaintiff,             STIPULATION TO CONTINUE RESTITUTION
12                                                       HEARING AND ORDER
                            v.
13                                                       DATE: August 14, 2018
     CHRISTIAN PARADA RENTERIA,                          TIME: 9:15 a.m.
14                                                       COURT: Hon. John A. Mendez
                                  Defendant.
15

16                                               STIPULATION
17          The United States of America, by and through its counsel of record, and defendant Christian
18 Parada Renteria, by and through his counsel, Dina L. Santos, hereby stipulate as follows:

19          1.      On June 12, 2018, the Court sentenced defendant Christian Parada Renteria and set the
20 matter for a restitution hearing to be held on August 7, 2018. ECF No. 755.

21          2.      On August 3, 2018, pursuant to the parties’ stipulation, the Court reset the restitution
22 hearing for August 14, 2018, at 9:15 a.m. ECF No. 771.

23          3.      The United States now requests additional time to obtain restitution information from
24 victims. The United States has been in contact with representatives of certain victims. However, the

25 United States is still waiting to receive information from those victim entities which could substantiate a

26 claim or claims for restitution, pursuant to 18 U.S.C. § 3663A.

27          4.      Counsel for both parties have conferred regarding rescheduling the restitution hearing for
28 another date within the 90-day post-sentencing period in which the United States may request a


      STIPULATION AND [PROPOSED] ORDER                    1
              Case 2:11-cr-00296-JAM Document 773 Filed 08/10/18 Page 2 of 2

 1 restitution hearing. See 18 U.S.C. § 3664(d)(5). In this case, the 90-day period expires on September

 2 10, 2018. The parties’ shared understanding is that the Court is not available on either August 21, 2018,

 3 or September 4, 2018. Counsel for defendant Parada Renteria is not available on August 28, 2018,

 4 which is the only other Tuesday before the expiration of the 90-day period. Accordingly, the United

 5 States requests that the Court find that there is good cause to continue the restitution hearing to

 6 September 11, 2018—one day beyond the expiration of the 90-day period—to provide the victims and

 7 the United States an opportunity to ascertain potential restitution claims, and to accommodate defense

 8 counsel’s schedule. Counsel for defendant Parada Renteria is available on September 11, 2018, and

 9 agrees that there is good cause to reschedule the restitution hearing for one day beyond the 90-day

10 statutory period.

11          IT IS SO STIPULATED.

12    Dated: August 10, 2018                                   MCGREGOR W. SCOTT
                                                               United States Attorney
13

14                                                      By: /s/ BRIAN A. FOGERTY
                                                            BRIAN A. FOGERTY
15                                                          Assistant United States Attorney
16
      Dated: August 10, 2018                                   /s/ DINA L. SANTOS
17                                                             DINA L. SANTOS
                                                               Counsel for Christian Parada Renteria
18

19
                                  ORDER (AS MODIFIED BY THE COURT)
20
            Upon the stipulation of the parties, the Court finds that there is good cause to continue the
21
     restitution hearing for defendant Christian Parada Renteria for all of the reasons set forth in the parties’
22
     stipulation. Therefore, the Court vacates the restitution hearing currently set for August 14, 2018, at
23
     9:15 a.m., and resets the hearing for September 18, 2018, at 9:15 a.m.
24
                    SO ORDERED.
25
     Dated: 8/10/2018
26                                                               /s/ John A. Mendez
                                                               JOHN A. MENDEZ
27                                                             UNITED STATES DISTRICT COURT
                                                               JUDGE
28


      STIPULATION AND [PROPOSED] ORDER                     2
